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Verified Complaint

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS (Boston Division)

Javaid Aziz, individually and as attorney-in-fact for Jamila K. Butt,
Plaintiffs,

Javaid Aziz, Pro se

131 Reed Street,
Cambridge, MA 02140
Phone: (617) 642-9058

Emai: javaid.azizeematleom

Vv.

Neelofar K. Butt; Neil H. Reig, Esq.; Karen Bosshart, Esq.; Christopher L. Mangold, Esq.;
Brightview Senior Living, LLC; Steven C. Bromberg, CPA; Craig S. Donais, Esq.; Thomas J.
Rizzo, Esq.; Dr. Jennifer Rosen; Hannah Lea Emmett; Hon. Wayne A. Humphrey; Hon. Linda S.
Jamieson; Hon. William J. Giacomo;

Defendants.

Civil Action No.

Address List of Defendants:

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5. Brightview Senior Living, LLC
Attention: Paul Ataide

Filed 05/27/25

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11. Hon. Wayne A. Humphrey
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12. Hon. Linda S. Jamieson

Supreme Court, Westchester County

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13. Hon. William J. Giacomo

Supreme Court, Westchester County

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14. John Doe & Jane Doe
(To be added)

Verified Complaint

Plaintiffs Javaid Aziz and Jamila K. Butt, by and through Javaid Aziz acting pro se and as
attorney-in-fact/next friend for his elder sister Jamila, hereby file this Verified Complaint against
the above-named Defendants. This action seeks to remedy a deliberate scheme to exploit an
elderly woman (Jamila) and to deprive her and her brother (Javaid) of their rights through fraud,
coercion, and abuse of legal process. Plaintiffs allege that Defendants, acting in concert, violated
federal civil rights and RICO statutes, and committed multiple state-law torts (elder abuse, fraud,
intentional infliction of emotional distress, abuse of process, and malicious prosecution) in the
course of isolating Jamila and retaliating against Javaid.

Parties

1. Javaid Aziz (Plaintiff): An 81-year-old resident of Cambridge, Massachusetts. He is
Jamila’s brother and has been a devoted sibling caregiver. Javaid was in daily
communication with Jamila until late 2020, when Defendants’ actions cut him off. He
brings this suit on his own behalf and on behalf of Jamila (via power of attorney and as
next friend) to protect her rights and well-being.
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2. Jamila K. Butt (Plaintiff): 87 years old, mother of Defendant Neelofar K. Butt and
sister of Javaid. Until late 2020, Jamila was an active, competent individual who clearly
communicated her wishes regarding her care and property. She explicitly told family
members: “Do not sell my house. I want to live there with help, or leave it for my
children in my will.”. Despite her intent, Jamila has since been declared (wrongfully)
incapacitated and kept isolated in a nursing facility. Javaid acts as her attorney-in-fact
pursuant to a power of attorney Jamila executed in Ais favor in early 2020, and as her
next friend, because she currently cannot access independent counsel due to Defendants’
coercion.

3. Neelofar K. Butt (Defendant): Jamila’s daughter (and Javaid’s niece), residing in New
York. Neelofar is the primary orchestrator of the scheme. Beginning in 2017, she sought
to take control of Jamila’s finances and care, against Jamila’s expressed wishes. Neelofar
procured a fraudulent 18-page Power of Attorney (POA) purportedly signed by Jamila
naming Neelofar as agent. Using this dubious POA, Neelofar seized control of Jamila’s
assets and decision-making, isolated Jamila from other family (especially Javaid), and
undertook legal actions to cement her control (including obtaining a false restraining
order against Javaid). An affidavit was submitted in Court by Neelofar on May 21, 2024
where she states that she withdrew the TRO on the assurance of Brightview that they will
not allow Javid to see Jamila. And the affidavit is so full of perjury that it would be
discredited in discovery; one statement she made in that “miss-trial” was declared by
Hon. Judge Wayne Humphrey which is totally false according to the Court transcript.
The trial was passed on to Hon. Judge Arlene A. Gordon-Oliver, who on March 29, 2022
extended the TRO to October 19, 2022 and hinted that either of the two parties (Javaid or
Neelofar), could face jail time; the Judge also questioned why this case was in Family
Court and not in Guardian Court. She is sued for all claims including civil rights
violations, fraud, elder abuse, ITED, abuse of process, malicious prosecution, civil
conspiracy, and RICO violations.

4. Neil H. Reig, Esq. (Defendant): An attorney and notary in New York, alleged co-
conspirator and legal advisor to Neelofar. Reig is believed to have drafted or facilitated
the fraudulent 18-page POA and related documents (such as a health care proxy and
trusteeship documents in Surrogate’s Court, committing perjury that: a. It was an
emergency; b. Family does not have $100,000 for IRS taxes; c. While Reig knew that
family had cash more than a million in bank accounts;) to give Neelofar control over
Jamila’s affairs. He notarized documents that are suspected forgeries (e.g., notarizing
Jamila’s “signature” on the POA that Jamila likely never signed). Reig also represented
or assisted Neelofar in court proceedings arising from this scheme (including appearing
with Neelofar in Family Court on Feb. 25, 2020 to obtain a TRO against Javaid). Reig
submitted an affidavit in Court on May 12, 2021 which contained statements that are
perjury, like: “I was retained by Jamila in Summer of 2017”, which is untrue. “I spoke
with Jamila on the phone to inter alia discuss—”, which never happened. There were
about 100 pages to discuss on phone with an 80-year-old lady who is hard of hearing.
Reig further said: “Within a week after I sent her the documents, — on July 18, 2017
Jamila executed the POA, HCP, Living Will and Last Will and Testament at my office.”
According to Jamila’s written testimony, that never happened. On all these pages (100 or
so or more) only two people appear — Neil Reig, Attorney, Neil Reig, witness, and the
office employee Denise Gurdal as witness. And Reig gave this affidavit when Jamila was
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trying to stop sale of her home in Court (Docket #54798/2021), by her own attorney,
Khalid Azam. Since it was all a set up with the judges, they did not care for evidence.
Reig is sued for fraud, civil conspiracy, RICO, and civil rights violations (as a willful
participant under color of law in obtaining fraudulent court orders).

Karen A. Morschhauser Bosshart, Esq. (Defendant): Attorney of Neelofar Butt, knew
that there were no three egregious acts of Javaid Aziz to warrant a TOP but stood in the
Court of Hon. Judge Wayne Humphrey and committed perjury by saying under oath: “he
(Javaid) grabbed her (Jamila) — —.” Calling out Assault, a criminal offence. Karen did
not have written sworn testimony of Jamila Butt to represent her in Family Court but
represented her on February 25, 2020. Karen abused her professional oath as an officer of
the Court. By knowingly filing in family court when she knew that the case did not
belong to the family court and Hon Judge Wayne Humphrey, Neelofer Butt and Neil
Reig were friends. Karen received Javaid Aziz’s Pro Se reply to TOP but never filed a
reply. Further details after discovery.

Christopher L. Mangold, Esq. (Defendant): An attorney who, since early 2020, has
represented Neelofar in various matters. Mangold filed “hundreds of pages” of pleadings
in multiple courts as part of the elder abuse racket. He purported to represent Jamila in
court without Jamila’s personal authorization (taking direction from Neelofar instead).
Mangold knowingly filed false or harassing charges against Javaid (including criminal
complaints) to intimidate him. He is sued as a co-conspirator aiding Neelofar’s abuse of
process and fraud (though not named in the RICO count, he is part of the overarching
conspiracy).

Brightview Senior Living, LLC (Defendant): The operator of “Brightview Tarrytown,”
an assisted living facility in Tarrytown, NY where Jamila has been confined since late
2017. Brightview is a corporate defendant (believed to be organized under the laws ofa
state other than MA) that owns or manages the facility. Brightview staff, at Neelofar’s
direction, enforced Jamila’s isolation — e.g., barring Javaid or other family from contact
at Neelofar’s instruction. Despite clear signs of Jamila’s distress (she would cry and beg
to see her brother) and Javaid’s complaints, Brightview failed to intervene or report the
abuse, effectively abetting Neelofar’s elder abuse and neglect of Jamila. Brightview
allowed an apparently unauthorized person (Neelofar) to dictate Jamila’s care and
visitation, even when Neelofar’s legal authority was dubious. Brightview is sued for
elder abuse/neglect (under applicable state law) and intentional infliction of emotional
distress (for its reckless inaction despite knowing the harm to Jamila), as well as civil
conspiracy (joining the agreement by acquiescing in the unlawful isolation). And injuries
to Jamila (two broken arms).

Steven C. Bromberg, CPA (Defendant): An accountant for Jamila who was approached
by Jamila’s independent attorney (Khalid Azam) in early 2020 regarding Jamila’s tax
matters. Instead of cooperating to help Jamila, Bromberg allegedly joined Reig and
Neelofar’s efforts to withhold information and assist their scheme. He is sued as a co-
conspirator (civil conspiracy count) for aiding in financial exploitation of Jamila (e.g., by
failing to provide accounting and by facilitating the concealment of assets).

Craig S. Donais, Esq. (Defendant): An attorney who, on Neelofar’s behalf, filed a
lawsuit in New Hampshire in 2024 representing himself as counsel for Jamila. This suit
was based on fraudulent documents from the New York proceedings and was filed
without Jamila’s consent or sworn testimony. (On information, this NH case was an
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attempt to continue harassing Javaid in another forum; it ultimately was defaulted by the
NH court, terminating in Javaid’s favor.) Donais is sued for abuse of process and civil
conspiracy.

Thomas J. Rizzo, Esq. (Defendant): An attorney who, on Neelofar’s behalf, filed a
lawsuit in Massachusetts in 2025 to enforce a tainted New York judgment against
Javaid. Rizzo filed that Massachusetts action based on the fraudulent New York orders,
without Jamila’s independent involvement. This was done to harass and retaliate against
Javaid in his home state. Rizzo is sued for abuse of process and as a co-conspirator.

Dr. Jennifer Rosen (Defendant): A neurologist in New York who, in early 2020,
provided a false “Physician’s Letter” opining that Jamila had dementia and lacked
capacity. Dr. Rosen’s letter did not follow proper protocols and omitted evidence of
Jamila’s lucidity. Neelofar and Reig used this “Rosen Letter” to mislead courts and
justify isolating Jamila. Dr. Rosen is sued for fraud and as a participant in the conspiracy,
as her knowingly flawed capacity evaluation was instrumental in depriving Jamila of her
rights.

Hannah Lea Emmett (Defendant): An associate of Neelofar who assisted in handling
Jamila’s property and legal matters. On information and belief, Emmett helped Neelofar
attempt to sell Jamila’s home and may have acted as a “straw” agent in transactions.
Emmett provided documents (such as Jamila’s late husband Khalid Butt’s will) to Reig to
aid Neelofar. Emmett herself received $1,000,000 from Khalid Butt’s life insurance,
suggesting a financial motive. Emmett is sued as a co-conspirator who helped defraud
and isolate Jamila for personal gain.

Hon. Wayne A. Humphrey (Defendant): A Judge of the Westchester County Family
Court (NY). In February 2020, Judge Humphrey presided over a Family Offense
Petition filed by Neelofar (purportedly on Jamila’s behalf) against Javaid. On February
25, 2020, without hearing from Javaid, Judge Humphrey granted an ex parte Temporary
Order of Protection (TOP/TRO) barring Javaid from any contact with Jamila. This
order was obtained through Neelofar’s false allegations of "harassment" or "abuse" which
had no basis in fact. Judge Humphrey later recused himself in 2022 upon acknowledging
he knew Neelofar personally (they had worked together at the DA’s office) — a clear
conflict. Plaintiffs allege Judge Humphrey’s issuance of the TRO violated Javaid’s and
Jamila’s due process and First Amendment/familial association rights, given the lack of
notice or factual basis. Relief sought against Judge Humphrey is solely equitable and
declaratory (no damages), to declare his orders void due to being procured by fraud and
to enjoin their enforcement.

Hon. Linda S. Jamieson (Defendant): A Justice of the New York Supreme Court
(Westchester County). Judge Jamieson presided over a 2021 civil action that Javaid filed
to challenge Neelofar’s conduct (including the validity of the POA and Jamila’s
isolation). On June 21, 2021, Judge Jamieson dismissed Javaid’s case without a hearing
and ruled that Javaid lacked standing to sue on Jamila’s behalf. This dismissal, procured
by Defendants’ false representations, denied Javaid and Jamila any substantive review —
amounting to a denial of due process. Judge Jamieson is named as a defendant to seek
declaratory relief vacating or voiding her judgment (alleged to have been obtained by
fraud/misrepresentation), and to address her role in the deprivation of Plaintiffs’ nghts.
No damages are sought against Judge Jamieson (only equitable relief).
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15. Hon. William J. Giacomo (Defendant): A Justice of the New York Supreme Court
(Westchester County) who handled a subsequent phase of the litigation. In a Decision and
Order dated December 22, 2021, Judge Giacomo dismissed Javaid’s renewed claims,
citing res judicata based on Judge Jamieson’s prior dismissal. Judge Giacomo also issued
an injunction barring Javaid from filing further actions in New York regarding
Jamila. Plaintiffs contend this order was obtained through fraud on the court (Neelofar’s
perjury and concealment of material facts) and violated Javaid’s constitutional rights
(access to courts and association). Judge Giacomo is sued for equitable relief only —
specifically, a declaration that his injunction and dismissal are void or unenforceable due
to Defendants’ underlying misconduct.

16. John Doe & Jane Doe (To be added)

Jurisdiction and Venue

Subject Matter Jurisdiction: This Court has federal question jurisdiction under 28 U.S.C.

§ 1331 because Plaintiffs assert claims arising under the U.S. Constitution and federal statutes,
including 42 U.S.C. § 1983 (Civil Rights) and 18 U.S.C. § 1962 (RICO). The Complaint alleges
a pattern of racketeering activity (mail and wire fraud, among other predicates) and violations of
civil rights, which are federal causes of action. Additionally, the Court has diversity jurisdiction
under 28 U.S.C. § 1332. There is complete diversity of citizenship between Plaintiff Javaid Aziz
and all Defendants, and the amount in controversy exceeds $75,000. Javaid is a citizen of
Massachusetts; upon information, Defendants are citizens of New York (or, in Brightview’s
case, of states other than Massachusetts). (Jamila’s interests are aligned with Javaid’s; to the
extent Jamila may be considered a New York citizen due to her residence, her inclusion is as an
involuntary plaintiff under duress. In any event, federal question jurisdiction is independently
satisfied.) The Court also has supplemental jurisdiction over the state law claims (elder abuse,
fraud, etc.) under 28 U.S.C. § 1367 because those claims form part of the same case or
controversy as the federal claims.

Personal Jurisdiction: All Defendants are subject to personal jurisdiction in Massachusetts
under the Massachusetts long-arm statute, Mass. Gen. Laws c.223A § 3, and the Due Process
Clause. Defendants purposefully directed tortious conduct toward Massachusetts, where Plaintiff
Javaid resides and suffered harm. In particular, Neelofar Butt and her agents (including Reig and
others) initiated legal actions and sent communications into Massachusetts with the aim to harass
or impact Javaid. For example, Defendants served Javaid in Massachusetts with out-of-state
court orders (such as the New York injunction) and even filed a Massachusetts court action
against him in Cambridge, MA (Middlesex County) to enforce a dubious New York judgment.
Javaid felt the brunt of the emotional distress and reputational harm in Massachusetts, and he had
to expend resources in Massachusetts to defend against Defendants’ actions. Additionally,
Brightview conducts business that affects Massachusetts residents (Brightview accepted Jamila
as a resident honoring an order barring a MA resident from contact, Brightview’s conduct had
effect on Javaid in MA). Furthermore, Defendants are engaged in an inter-state conspiracy with
foreseeable effects in Massachusetts; under RICO’s nationwide service of process provision and
co-conspirator jurisdiction principles, they can be haled into this Court. In sum, Defendants have
sufficient minimum contacts with Massachusetts, and exercising jurisdiction here comports with
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traditional notions of fair play and substantial justice given Defendants’ intentional targeting of a
Massachusetts resident (Javaid).

Venue: Venue is proper in the District of Massachusetts under 28 U.S.C. § 1391(b)(2) because a
substantial part of the events or omissions giving rise to the claims occurred in Massachusetts.
Javaid’s injuries (severe emotional distress and financial expenditures) occurred at his home in
Massachusetts, as Defendants’ actions were deliberately aimed at causing harm to him here.
Moreover, part of the unlawful conduct occurred in Massachusetts in 2025, when Neelofar
(through Attorney Rizzo) filed a court action in Cambridge, MA to domesticate and enforce the
fraudulently obtained New York judgment. That enforcement action is directly related to the
claims in this case (as an act of retaliation and abuse of process) and occurred within this
District. Venue is also proper under § 1391(b)(3) because all Defendants are subject to personal
jurisdiction here. The case is appropriately assigned to the Boston Division of this District, as
Javaid resides in Cambridge (Eastern Massachusetts) and the related Massachusetts state court
action was in Middlesex County (within the Boston Division).

Factual Background

The following facts are drawn from Plaintiffs’ personal knowledge and the evidence available.
They are organized chronologically and topically to explain how the situation evolved:

A. Jamila’s Intentions and Neelofar’s Power Grab (2017-2020). Jamila K. Butt is the
matriarch of her family. After her husband (Dr. Khalid Butt) passed away in 2016, Jamila
owned, either outright or via an irrevocable trust, the family home in Westchester County, New
York, along with other assets. By 2019, as she was advancing in age, Jamila thoughtfully
planned for her future. She clearly expressed that she wished to remain in her own home with
appropriate in-home help for as long as possible, and under no circumstances did she want her
house sold during her lifetime. She intended the home to eventually go to her children in her
will, if she could no longer live there. Jamila trusted her brother, Javaid, to assist with her
affairs consistent with her wishes. In fact, on September 9, 2019, Jamila hand-wrote and signed
a directive letter stating “Do not sell my house during my lifetime”, among other instructions.
Shortly thereafter, in late 2019, Jamila also hired an attorney, Khalid M. Azam, Esq., to
represent her interests. She signed a retainer agreement with Mr. Azam in October 2019 to help
counter any unwanted interference by her daughter (Defendant Neelofar). This shows that Jamila
was proactive and of sound mind — she sought independent legal advice to ensure her wishes
(especially about her home) were honored.

Despite Jamila’s clear intent, Defendant Neelofar Butt — Jamila’s adult daughter — had other
plans. Neelofar coveted control over Jamila’s assets (particularly the valuable Westchester home)
and wanted to dictate Jamila’s care. Starting in late 2019, Neelofar began positioning herself to
take over. Without Jamila’s true consent, Neelofar (with help from attorney Reig) prepared an
unusually lengthy 18-page Power of Attorney document revealed in 2019 (prepared in 2017)
that purported to name Neelofar as Jamila’s attorney -in-fact. Jamila’s genuine signature was
likely forged or obtained under false pretenses, as the document’s length and provisions were not
standard, and Jamila never mentioned it to Javaid. Notably, the POA was notarized by
Defendant Neil H. Reig (and witnessed by his assistant) — raising conflict-of-interest concerns
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since Reig notarized a document that he himself drafted for his friend Neelofar. This contested
POA is central to Neelofar’s takeover. In contrast, on February 12, 2020, Jamila executed a
different Power of Attorney in favor of Javaid Aziz (her brother). This happened on the very
day of an incident described below, indicating Jamila’s true desire was to authorize Javaid to
help her. The February 12, 2020 POA to Javaid (a short form, only a few pages) is powerful
evidence that Jamila trusted Javaid, not Neelofar, with her affairs. (Even if multiple POAs
created legal confusion, the existence of Jamila’s letter and POA favoring Javaid underscores
that Neelofar’s later actions were against Jamila’s will.)

B. False Accusations and a Fraudulent TRO to Isolate Jamila (2020-2022). In early 2020,
tensions came to a head. By February 2020, Neelofar was aware that Jamila wanted to go back
home, and that Jamila had enlisted Javaid’s help (and even made Javaid her attorney-in-fact on
Feb. 12, 2020). To neutralize Javaid’s involvement, Neelofar resorted to a preemptive legal
strike. On or about February 25, 2020, Neelofar filed a Family Offense Petition in Westchester
County Family Court against Javaid. This filing was ostensibly made on Jamila’s behalf (with
Neelofar claiming to act for her mother) and on Neelofar’s own behalf. In it, Neelofar made a
series of outrageous false allegations, including that Javaid had “kidnapped” Jamila, that he
was harassing or abusing Jamila, and that Jamila was in immediate danger from Javaid. In
reality, no such abuse or harassment ever occurred — Javaid’s only “interference” was
attempting to protect Jamila from Neelofar’s unilateral actions. Neelofar’s petition omitted that
earlier that month Jamila had sided with Javaid (via the POA) and that Jamila was resisting
Neelofar’s pressure to sell her house.

Defendant Judge Wayne Humphrey of the Family Court heard Neelofar’s petition ex parte on
February 25, 2020. Without giving Javaid any notice or opportunity to be heard, Judge
Humphrey issued a Temporary Order of Protection (TRO) that same day barring Javaid from
any contact with Jamila. This order treated Javaid as though he were a domestic violence threat,
despite no history of any abuse between Javaid and Jamila (they are siblings who had lived
separately and had a loving relationship). The issuance of this TRO was highly irregular and
procedurally deficient: Javaid was not present or heard, and Jamila herself did not testify or
submit any sworn statement in support (indeed, Jamila’s own wishes were contrary to the
order, as she wanted to see her brother). Nevertheless, with the TRO in hand, Neelofar gained
immediate power — she now had a court order to justify keeping Javaid away. Over the next
months, Neelofar ensured the TRO was extended repeatedly, keeping Javaid barred through
2020 and into 2021. During this time, Jamila was heartbroken and confused: she suddenly
stopped hearing from her brother and was told (falsely) by Neelofar that Javaid “didn’t want to
see her” or otherwise misled about why Javaid vanished. In truth, Javaid was legally restrained
and threatened with arrest if he attempted contact. Jamila would cry and ask staff or anyone who
would listen that she wanted to talk to Javaid. The family court process was perverted into a
weapon to punish Javaid and isolate Jamila.

It later emerged that Judge Humphrey should likely have never handled Neelofar’s petition due
to a personal conflict: Neelofar and Reig were personal friends of Judge Humphrey (all had
worked in or around the local District Attorney’s office previously). Judge Humphrey did not
disclose this conflict at the time. Only in November 2021 did Judge Humphrey recuse himself,
remarking on the record that he belatedly realized he knew Neelofar (claiming he hadn’t
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recognized her earlier). Kept handing the TRO till March 29, 2022. By then, the damage was
done: Jamila and Javaid had been kept apart for two years under the shadow of Humphrey’s
orders.

C. Isolation and Mistreatment of Jamila (2017—Present). Armed with the fraudulent POA
(naming herself, and later the family court TRO against Javaid), Neelofar moved Jamila into an
assisted living facility (Defendant Brightview Senior Living in Tarrytown, NY) in late 2017.
From that point on, Jamila has been effectively a prisoner in the facility. Neelofar instructed
Brightview staff that no one was allowed to contact Jamila except herself. Brightview
complied: they prevented Jamila from making or receiving phone calls to Javaid, and eventually
even took away Jamila’s cell phones altogether. Jamila was socially isolated, a recognized
form of psychological elder abuse. When Javaid attempted to check on his sister, he was
rebuffed by Brightview, which cited the TRO or claimed “family issues are being handled by the
courts”. Even law enforcement who tried to do wellness checks were misled by Brightview
staff—police were told Jamila was fine and that Neelofar had authority, so they did not interview
Jamila in depth. In truth, Jamila was suffering: she became depressed and confused, not
understanding why her beloved brother had seemingly disappeared. Javaid, for his part, was
anguished and anxious, imagining his sister suffering alone. Both experienced serious
emotional distress: Jamila felt despair and abandonment, and Javaid experienced insomnia,
depression, and constant worry. This extreme emotional pain was precisely what Neelofar
intended (or was recklessly indifferent to) — it was not accidental. By isolating Jamila, Neelofar
could break the sibling bond and make Jamila entirely dependent on her, easing the path to
control Jamila’s assets.

During Jamila’s confinement at Brightview, there were also instances of possible medical abuse
or neglect. On one occasion, Jamila managed to surreptitiously communicate to Javaid that "they
are giving me a new pill that is affecting me". Jamila felt disoriented by a medication change,
raising concerns that Neelofar (or Brightview staff at Neelofar’s behest) may have been
administering sedatives or other drugs to keep Jamila compliant — a form of chemical restraint.
Javaid was so alarmed by this report that he called the local police in Tarrytown to do a wellness
check. However, as noted, even law enforcement inquiries were stonewalled with reassurances
that Jamila was “fine” and that “family issues” were in court. No independent investigation was
done at the time. Brightview’s inaction, despite clear signs of abuse (a resident crying to see
family, a brother raising alarms), made it complicit in Jamila’s ongoing mistreatment. Jamila’s
health has deteriorated in isolation. Reports indicate she has become more withdrawn and
depressed, and at times confused — consistent with “institutionalization syndrome” or possibly
effects of over-medication. In late 2024, in a brief covert phone call that a friend facilitated,
Jamila whispered to Javaid, “Please take me home with you,” showing her continued desire to
escape Neelofar’s control. This plea haunts Javaid and underscores the urgency of intervention.

D. Theft and Financial Exploitation of Jamila’s Assets. With Javaid sidelined and Jamila
under her thumb, Neelofar systematically stripped Jamila of her property. Central to this was
the fraudulent POA revealed in 2020 naming Neelofar. Using that document, Neelofar took
control of Jamila’s bank accounts, investments, and mail. In mid-2020, Neelofar (working with
attorney Reig) went so far as to sell Jamila’s Westchester house — the very home Jamila
explicitly said not to sell. They did this behind Jamila’s back while Jamila was in the facility.

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The house was sold around 2020-21, and the proceeds (approximately $1 million or more) were
deposited into accounts controlled by Neelofar (under the POA authority). Jamila did not
receive or direct any of those funds; to this day, no accounting has been provided of what
Neelofar did with the money. Upon learning of the secret sale, Jamila was devastated — her home
was her pride, and losing it against her will caused her immense grief. This loss is irreparable, as
real property with decades of sentimental value cannot be replaced. It also meant Jamila’s chance
to ever return home was eliminated. (All of Jamila’s personal legal papers and possessions in the
house were also lost or taken by Neelofar during the sale.) Neelofar’s actions blatantly violated
Jamila’s trust and fiduciary duty (if any) by acting contrary to Jamila’s explicit instructions.

Javaid, upon discovering Neelofar’s financial maneuvers, attempted to alert authorities. In early
2021, he filed elder abuse reports with the police and even contacted the Westchester County
District Attorney’s Office, providing evidence that the POA was likely forged and that Jamila’s
assets were being misappropriated. However, no effective action was taken. Due to Neelofar’s
and Reig’s connections (both had worked in the DA’s orbit), Javaid’s complaints were ignored
or downplayed. One police officer eventually told Javaid that Neelofar had “barred” them
from discussing Jamila’s case with him — a puzzling statement indicating deference to
Neelofar’s claimed authority. Meanwhile, Jamila’s savings and income (social security,
pension, etc.) were also taken over by Neelofar. Those funds were used to pay Brightview’s fees
(keeping Jamila in a place she never wanted to be), and any surplus was possibly siphoned by
Neelofar. In short, Jamila’s entire estate was effectively under Neelofar’s control, and
Neelofar acted as though Jamila’s assets were her own to spend.

E. Misuse of Courts and Litigation History (2021-2025). Javaid did not passively accept these
events. Despite the TRO gagging him in 2020, he sought legal avenues to free his sister and
hold Neelofar accountable. In 2021, Javaid (through counsel) filed a civil action in New York
Supreme Court (Westchester County) against Neelofar. He asked the court to invalidate the
fraudulent POA, stop the isolation, and declare Neelofar’s actions unlawful. This case (Index #
64749/2021) was initially before Judge Linda S. Jamieson. Unfortunately, Judge Jamieson, on
June 21, 2021, dismissed Javaid’s case without a hearing, accepting Defendants’ arguments
that Javaid lacked standing to sue on Jamila’s behalf. Judge Jamieson’s decision relied on
misrepresentations: for example, Neelofar and Reig had falsely painted Javaid as having no role
or that Jamila was content under Neelofar’s care. The dismissal meant that none of the evidence
of fraud or abuse was substantively considered. Javaid appealed that decision. While the appeal
was pending, Javaid also filed a new action or motion in late 2021 (perhaps to intervene or to
vacate the TRO and get access to Jamila, after Judge Humphrey recused). That matter came
before Judge William J. Giacomo. On December 22, 2021, Judge Giacomo issued a Decision
and Order that not only dismissed Javaid’s claims (essentially citing res judicata from Judge
Jamieson’s earlier dismissal) but also imposed an injunction barring Javaid from filing any
new actions in New York courts regarding these issues. Judge Giacomo’s order also hit Javaid
with a money judgment for Neelofar’s legal fees (approximately $21,586). This was a crushing
result for Javaid: not only were his efforts to obtain justice for Jamila rebuffed, but he was now
prohibited from even filing further cases in New York and faced a financial penalty. The New
York litigation thus ended in a way that Neelofar touted as a victory — but Javaid maintains
those judgments were the product of fraud on the court (Neelofar’s perjury, Dr. Rosen’s false
letter, etc.) and procedural abuses that violated his rights. (Notably, during a March 2022

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proceeding after Judge Humphrey’s recusal, Neelofar admitted on the record that she did not
actually have legal guardianship of Jamila. This admission vindicated Javaid’s position that
Neelofar’s authority was self-assumed and not court-granted. Yet even after that, no court
restored Javaid’s access to Jamila or voided the prior orders.)

Javaid filed for relief to file motion to visit his sister in New York Court and Neelofar (perhaps
forum shopping) filed a civil lawsuit against Javaid in Grafton County, Superior Court (NH)
(Docket 215-2024-CV-00010). She again purported to act on Jamila’s behalf. The suit was likely
another harassment tactic, possibly alleging that Javaid’s communications or efforts constituted
something actionable. Javaid retained NH counsel and considered counterclaims. However, that
case never proceeded to a judgment on the merits — Neelofar ultimately failed to prosecute
it, leading to a default against her. In November 2024, the NH court defaulted Neelofar’s
case, effectively dismissing it in Javaid’s favor. (An official Notice of Default dated around Nov.
25, 2024 can be provided as evidence.) In correspondence, Javaid’s own NH attorney
acknowledged that any counterclaims Javaid had (e.g., for the torts now in this federal suit) were
outside the NH court’s jurisdiction and would need to be brought elsewhere. This further
demonstrates that Javaid has not had a day in court on these grievances — he was actually
advised to bring them in a different forum, which is precisely why he is filing in Massachusetts
now.

Most recently, in early 2025, Neelofar turned to the Massachusetts courts to continue the
pressure on Javaid. Through Defendant Rizzo (a Massachusetts attorney), Neelofar filed an
action in the Cambridge District Court (a Massachusetts state court) to enforce the New York
money judgment (~$21k) against Javaid. This was essentially a debt collection or judgment
domestication action, but it is noteworthy because it shows Neelofar reached into
Massachusetts to inflict financial harm on Javaid. This Massachusetts action is part of the
pattern of retaliation: every time Javaid tries a legal avenue, Neelofar responds by escalating in
another court (in this case, using Massachusetts to enforce a highly contested judgment). That
proceeding is now related to the claims here, and Javaid will seek to consolidate or have it
addressed along with this case (since the underlying NY judgment is alleged to be void due to
fraud).

In summary, by the time of this filing (May 2025), Jamila remains isolated under Neelofar’s
control at Brightview; Javaid remains barred from contact due to the lingering effect of the
2020 TRO (which, while expired, effectively continues via Jamila’s isolation and threat of new
TROs if he approaches). Neelofar continues to hold Jamila incommunicado and control her
assets, and any attempt by Javaid to seek relief has been met with swift litigation maneuvers to
shut him down. Plaintiffs have exhausted reasonable alternatives: they reported to authorities,
they fought in NY courts (only to be turned away on technical grounds), and they even tried
other state courts. Thus, they now turn to this Court for comprehensive relief.

Causes of Action

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(Each count below incorporates by reference the allegations above, and all counts are asserted
by Javaid Aziz individually and, where applicable, on behalf of Jamila K. Butt as her attorney-
in-fact/next friend.)

Count I — Violation of Civil Rights (42 U.S.C. § 1983: Denial of Due Process & First
Amendment Associational Rights) — Against Defendants Neelofar Butt, Neil H. Reig, Hon.
Wayne A. Humphrey, Hon. Linda S. Jamieson, and Hon. William J. Giacomo.

Basis: Defendants, acting under color of state law in concert, deprived Plaintiffs of rights
guaranteed by the U.S. Constitution. Neelofar and Reig misused judicial processes (Family
Court and Supreme Court) by presenting false evidence and thereby entangled state judges in
their scheme. This resulted in court orders (the February 2020 no-contact TRO, the June 2021
dismissal, and December 2021 injunction) that violated Plaintiffs’ due process rights and
Javaid’s First Amendment right of intimate association with his sister. Specifically, Javaid was
deprived of notice and a fair opportunity to be heard before being barred from contact with
Jamila (procedural due process violation), and both Javaid and Jamila were deprived of their
liberty interest in maintaining their sibling relationship (a right protected by substantive due
process and the First Amendment). Judge Humphrey, Judge Jamieson, and Judge Giacomo
are named in this count to the extent they issued or enabled these unconstitutional orders. While
judges generally have immunity, Plaintiffs seek declaratory relief: a declaration that the orders
in question (the Family Court TRO and the NY Supreme Court dismissal & injunction) are null
and void due to the fraud and constitutional violations underpinning them. No monetary damages
are sought against the judges, only against Neelofar and Reig, who conspired to cause the
constitutional deprivations. Neelofar and Reig are liable under §1983 because they willfully
participated with state actors (the judges) to deprive Plaintiffs of rights, or alternatively, because
they acted under color of law by effectively controlling Jamila under a pretense of lawful
authority (e.g., Neelofar falsely holding herself out as a lawful guardian). As a result of this
violation, Plaintiffs suffered injury, including the loss of family companionship and severe
emotional distress.

Count II — Abuse of Process — Against Defendants Neelofar Butt and Neil H. Reig.

Basis: Neelofar and Reig misused legal process for an ulterior purpose other than what the
process was intended for. They initiated and prosecuted legal actions not to resolve genuine
disputes, but to intimidate, harass, and gain leverage in furtherance of their scheme to control
Jamila and silence Javaid. Examples include: (a) the Family Court petition in Feb 2020, where
Neelofar obtained a TRO under false pretenses, not to protect Jamila from real harm, but to
isolate Jamila and sideline Javaid; (b) the Massachusetts enforcement action in 2025, filed not
merely to collect a debt, but to retaliate against Javaid for continuing to seek relief; (c) any other
court filings (New Hampshire suit, etc.) made to multiply proceedings and burden Javaid. In
each instance, Defendants used the judicial process as a weapon, achieving orders (process)
that they then used to further their private aims (keeping Jamila isolated, draining Javaid’s
resources, etc.). The ulterior motive was evident: e.g., Neelofar sought the TRO to cut off
Javaid on the very day Jamila empowered him via POA, and sought the MA action right after
Javaid signaled intent to sue. This abuse of process caused Plaintiffs damage (legal fees,
emotional distress, and continuation of Jamila’s confinement).

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Count III — Malicious Prosecution (and Malicious Use of Civil Proceedings) — Against
Defendant Neelofar Butt.

Basis: Neelofar initiated multiple baseless legal proceedings against Javaid (some styled as civil,
one effectively quasi-criminal with the TRO) with malice and without probable cause, and those
proceedings terminated in Javaid’s favor (or in a manner not resulting in a conviction or
sustained adverse finding against him). Specifically, Neelofar’s Family Court TRO proceeding
was based on false allegations; once Judge Humphrey recused and the truth emerged (that
Neelofar had no guardianship), the family offense petition was not continued and ended without
any finding that Javaid did wrong. Neelofar’s New Hampshire lawsuit (2024) was terminated
by default against her, which constitutes a favorable termination for Javaid. Any criminal
complaint Neelofar filed (it’s noted she attempted to file criminal charges via Mangold) were
not pursued or were dismissed. Neelofar acted with malice — her primary intent was to harm
Javaid (and by extension Jamila) by misusing legal processes, not to vindicate any genuine right.
As a result of these malicious proceedings, Javaid suffered damages including attorney fees,
emotional distress, and reputational harm. (This count may overlap with Abuse of Process but is
pleaded in the alternative for any jurisdictions recognizing the distinct tort of malicious
prosecution.)

Count IV — Fraud (and Fraud on the Court) — Against Defendants Neelofar Butt and Neil
H. Reig.

Basis: Neclofar and Reig engaged in intentional misrepresentations and deceit to further their
scheme. This includes forgery and fraudulent execution of documents (the 18-page POA
revealed in 2020, a Health Care Proxy, possibly court submissions with Jamila’s falsified
signature), and false statements to courts (perjury in affidavits and testimony). For example,
Neelofar falsely represented to courts that Jamila was incompetent and that Neelofar had proper
authority, which were lies made to gain court orders. Reig facilitated this fraud by drafting false
documents and by notarizing a signature that was not truly Jamila’s. They also concealed
material facts (such as Jamila’s letters and wishes, and Neelofar’s conflict with Judge
Humphrey). These misrepresentations were made intentionally, with knowledge of falsity, and
with the intent that others (courts, police, Brightview staff, family members) rely on them. The
victims (courts and parties) justifiably relied on these lies: e.g., Judge Humphrey relied on
Neelofar’s sworn allegations of abuse to issue the TRO; Brightview relied on Neelofar’s claimed
POA authority to deny Javaid access. As a direct result, Plaintiffs suffered harm: Jamila lost
property and liberty, and Javaid lost his relationship and incurred costs. Additionally, the fraud
on the court aspect seeks relief to void any court orders obtained by fraud (as courts have
inherent power to set aside judgments procured by fraud). This count may be accompanied by a
request for punitive damages, given the egregious, willful nature of the fraud.

Count V — Intentional Infliction of Emotional Distress (ITED) — Against Defendants
Neelofar Butt and Brightview Senior Living, LLC.

Basis: Defendants engaged in extreme and outrageous conduct with the intent (or reckless
disregard) to cause severe emotional distress to Plaintiffs. Neelofar’s conduct — isolating an
elderly mother from her devoted brother, lying to each of them, selling Jamila’s home, and
dragging Javaid through baseless litigations — is beyond all bounds of decency in a civilized
society. It was calculated to emotionally break Jamila and punish Javaid. Brightview’s conduct
— consciously assisting or allowing the isolation and emotional neglect of Jamila for years — is

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also outrageous, given its duty as a caregiving facility. Brightview staff literally stood between
an elderly woman and her concerned brother, enforcing a dubious no-contact directive even as
Jamila wept and begged for family. Such callous indifference to a resident’s emotional well-
being is egregious. The emotional distress suffered by Plaintiffs was severe: Jamila’s mental
health deteriorated (depression, despair) and Javaid suffered severe anxiety, grief, and insomnia.
Defendants’ actions were a substantial factor in causing this distress. Therefore, they are liable
for ITED.

Count VI — Civil Conspiracy — Against All Defendants.

Basis: Defendants entered into an agreement (explicit or tacit) to commit the unlawful acts
described above (fraud, abuse of process, elder abuse, etc.) or to accomplish lawful acts by
unlawful means, and each committed overt acts in furtherance of the conspiracy. Starting in
2017, Neelofar enlisted Reig to craft false documents; they brought in Dr. Rosen to bolster the
false incapacity narrative; Neelofar involved Mangold, Donais, and Rizzo to file harassing
lawsuits in various states; Brightview cooperated by isolating Jamila; Emmett helped with
property transfers; Bromberg withheld financial info — all these acts show a coordinated effort.
The co-conspirators communicated across state lines (emails, calls, court filings) with a common
goal: keep Jamila under Neelofar’s control and fend off Javaid’s interventions. Each
Defendant knew or should have known of the overall plan and their role in it. As a result of the
conspiracy, Plaintiffs suffered the injuries detailed herein. Under conspiracy liability, each
Defendant is jointly and severally liable for the torts committed within the scope of the
conspiracy (e.g., even those who didn’t themselves file the TRO are liable for that abuse of
process if it was a foreseeable part of the conspiracy).

Count VII — Elder Abuse and Exploitation — Against Defendants Neelofar Butt and
Brightview Senior Living, LLC.

Basis: Neelofar and Brightview violated laws and duties designed to protect elder adults from
abuse, neglect, and exploitation. Neelofar’s actions constitute financial exploitation (misusing
Jamila’s funds, property, and identity for personal gain) and psychological/physical abuse
(willfully isolating Jamila, potentially over-medicating her, and inflicting emotional harm).
Brightview is liable for neglect and enabling abuse: as Jamila’s care facility, Brightview had a
duty (including under New York Social Services Law §473 or similar statutes) to report
suspected abuse and to uphold Jamila’s rights as a resident. Instead, Brightview actively or
negligently contributed to abuse by obeying Neelofar’s improper directives to isolate Jamila, by
failing to seek Jamila’s consent or involvement in her own care decisions, and by ignoring signs
of harm (crying, complaints, a family member’s urgent pleas). This count may invoke
Massachusetts law to the extent Jamila has connections here (or simply proceed as a common-
law tort claim for elder abuse, recognized in some jurisdictions via negligence per se or statutory
tort). As a proximate result of Defendants’ elder abuse, Jamila suffered injuries including loss of
liberty, emotional trauma, deterioration of health, and loss of property. Javaid also suffered
derivative emotional distress seeing his sister’s plight. Plaintiffs seek compensatory damages,
and if applicable, statutory treble damages or civil penalties under any elder protection statutes,
as well as injunctive relief to prevent further abuse.

Count VIII — Racketeer Influenced and Corrupt Organizations Act (RICO), 18 U.S.C.
§ 1962(c) & (d) — Against Defendants Neelofar Butt and Neil H. Reig.

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Basis: Neelofar and Reig, along with others, formed an association-in-fact enterprise engaged
in interstate racketeering activity to wrongfully take control of Jamila’s assets and deprive her of
her rights. The enterprise consists of the network of individuals (Neelofar, Reig, and co-
conspirators) and entities (Brightview) who acted in concert. Pattern of Racketeering: Over at
least 5 years (2019-2025), Defendants committed multiple predicate acts of mail fraud and
wire fraud (18 U.S.C. §§ 1341, 1343) by transmitting false documents and communications
through mail and electronic means in furtherance of the scheme. Examples: mailing or emailing
the forged POA and related legal filings across state lines; mailing false court pleadings (e.g., the
family offense petition, the New York complaint, the Massachusetts enforcement filing)
containing misrepresentations; wiring proceeds of the home sale or other assets. They also
committed financial institution fraud by possibly misrepresenting authority to banks to transfer
Jamila’s funds, and identity theft by using Jamila’s identity in legal documents without consent
(potentially violating 18 U.S.C. § 1028). The predicate acts were related and continuous — all
aimed at the common purpose of exploiting Jamila and silencing Javaid, and occurring over
multiple years. Neelofar and Reig conducted the enterprise’s affairs through this pattern of
racketeering: Reig provided the legal/notary tools, Neelofar orchestrated and gave direction.
Conspiracy (18 U.S.C. § 1962(d)): They agreed with each other and others to commit this
pattern; each took actions to further the conspiracy. As a result of the RICO violations, Plaintiffs
suffered injury to their business or property: Jamila’s property (house and funds) was taken, and
Javaid’s expected inheritance or financial support to his sister was disrupted; Javaid also spent
money on legal fees as a direct result of Defendants’ fraudulent court filings. Under RICO,
Plaintiffs are entitled to recover treble damages and attorney’s fees. Additionally, Plaintiffs seek
equitable relief under RICO, including possibly injunctive relief to prevent further racketeering
activity (e.g., prohibiting Defendants from using any powers of attorney or court orders obtained
through fraud).

Prayer for Relief

WHEREFORE, Plaintiffs Javaid Aziz (individually and as attorney-in-fact for Jamila K. Butt)
respectfully request that this Court enter judgment in their favor and grant the following relief:

1. Declaratory Relief: A declaration that the February 25, 2020 Family Court Temporary
Order of Protection and related orders, and the New York Supreme Court orders of June
21, 2021 and December 22, 2021 (including the filing injunction against Javaid), were
obtained by fraud and in violation of Plaintiffs’ rights, and are therefore void or
unenforceable.

2. Injunctive Relief: Permanent injunctions prohibiting Defendants from continuing to
isolate or mistreat Jamila. This includes enjoining Neelofar (and all persons in concert
with her) from barring communication between Jamila and Javaid, from interfering with
Jamila’s living arrangements to Jamila’s detriment, and from accessing or disposing of
Jamila’s assets without court supervision. Additionally, an injunction removing Neelofar
from any position of authority over Jamila (such as power of attorney or de facto
guardian) and preventing any further abuse of process in any jurisdiction.

3. Immediate Injunctive Relief (TRO/Preliminary Injunction): As detailed in the
accompanying motion, Plaintiffs seek an immediate Temporary Restraining Order and

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subsequent preliminary injunction to ensure Jamila’s safety and contact with Javaid
during the pendency of this case.

4. Compensatory Damages: An award of compensatory damages in an amount to be
determined at trial, but well in excess of $75,000, for the losses caused by Defendants.
This includes damages for Jamila’s financial loss (e.g., the value of the home/nearly $1
million, and any misappropriated funds), expenses incurred, and emotional pain and
suffering of both Jamila and Javaid.

5. Punitive Damages: An award of punitive/exemplary damages against the individual
Defendants (especially Neelofar and Reig, and other non-immune co-conspirators) to
punish their willful, malicious conduct and to deter such egregious elder abuse and fraud
in the future.

6. RICO Treble Damages and Fees: Treble damages as provided by 18 U.S.C. § 1964(c)
for the RICO claim, along with an award of costs and reasonable attorney’s fees (to the
extent Javaid hired attorneys or for the value of his time pro se).

7. Appointment of Guardian ad Litem: An order appointing a suitable Guardian ad
Litem for Jamila K. Butt to protect her interests in this litigation (as separately moved
below), ensuring Jamila’s voice and best interests are represented independently of the
parties.

8. Restoration of Jamila’s Rights: Any equitable relief necessary to restore Jamila’s
personal autonomy and estate. This may include orders voiding any fraudulent power of
attorney or related legal instrument, and ordering an accounting and restitution of
Jamila’s assets taken by Defendants.

9. Costs and Interest: An award of taxable costs, and pre- and post-judgment interest as
allowed by law.

10. Any other relief the Court deems just and proper, including but not limited to referral of
any matters to appropriate law enforcement or regulatory agencies (given the serious
nature of the allegations).

Plaintiffs demand a trial by jury on all issues so triable.

Date: May 27th, 2025.
Respectfully submitted,

Plaintiff Javaid Aziz (Pro Se)

on his own behalf and as Attorney-in-Fact for Jamila K. Butt
131 Reed Street, Cambridge, MA 02140

Tel: 617 642 9058 — Email: javaid.aziz@gmail.com

Javaid Aziz

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Verification by Plaintiff Javaid Aziz:

I, Javaid Aziz, declare under penalty of perjury that I am a Plaintiff in the above action. I have
read the foregoing Verified Complaint and know the contents thereof. The factual allegations are
true to my personal knowledge or, as to matters based on information and belief, I believe them
to be true. This verification is made by me for myself and on behalf of co-Plaintiff Jamila K. Butt
(my sister) as her attorney-in-fact and next friend, given her inability to access counsel while
under duress.

Date: May 27th,, 2025.

Javaid Aziz

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